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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA

       vs.                                                             5:07-CR-106 (FJS)

Matthew Langdon




                             RECOMMENDATION AND ORDER

Upon the defendant’s admission to violations, as set forth in the supervised release violation petition
dated September 8, 2009 it is hereby

ORDERED that the defendant is remanded to the custody of the United States Marshal and it is
RECOMMENDED that the defendant participate in the High Impact Incarceration Program (HIIP)
at the Jamesville Correctional Facility and further it is

ORDERED that upon completion of the HIIP that the defendant shall appear in Court on October
21, 2009 at 12:00noon in Syracuse, New York or, if the defendant has not completed HIIP, any date
scheduled thereafter.



IT IS SO ORDERED.

September 15, 2009
Syracuse, New York
